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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF KENTUCKY
                         LEXINGTON DIVISION

                           ELECTRONICALLY FILED

KENNETH POTTER,

                   Plaintiff,
v.                                            Case 5:16-CV-00429-JMH

UNIFUND CCR PARTNERS
assumed name for CREDIT CARD            JOINT NOTICE OF SETTLEMENT
RECEIVABLES FUND, INC.
ZB LIMITED PARTNERSHIP, and
MICHAEL J. KEENEY

               Defendants.
___________________________________)

      Please take notice that Plaintiff, Kenneth Potter (“Plaintiff”), has resolved

the above styled lawsuit and dispute with Defendants Unifund CCR Partners,

Credit Card Receivables Fund, Inc., ZB Limited Partners, and Michael J. Keeney

(collectively, the “Defendants”).

      For the reasons set forth below, Plaintiff and Defendants anticipate filing a

Joint Stipulation of Dismissal with Prejudice within approximately 180 days.

      1.     Based upon the allegations made in Plaintiff’s Complaint, Plaintiff is

a member of one or more of the putative classes defined in the case styled Joseph

L. Islas v. First Resolution Investment Corp., Unifund CCR, LLC, and Unifund
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CCR Partners, Case No. 1:16-cv-141-GNS, currently pending in the Western

District of Kentucky (the “Islas Class Action”).

      2.       Plaintiff’s counsel and Defendants’ counsel in this case are also

counsel for the putative plaintiffs and the defendants in the Islas Class Action.

      3.       Plaintiff’s counsel and Defendants’ counsel in this case have reached

an agreement in principle to settle the putative classes defined in the Islas Class

Action, which settlement includes all of the Plaintiff’s claims in this case.

      4.       As part of the proposed Islas Class Action settlement agreement,

Plaintiff and Defendants have agreed that, subject to that Court’s approval,

Plaintiff shall be joined as one of the class representatives of the proposed Islas

Class Action settlement agreement to be filed in the Islas Class Action and which

shall be subject to the Islas Class Action Court’s approval.

      5.       Accordingly, Plaintiff and Defendants respectfully request that the

Court allow Plaintiff and Defendants one hundred and eighty days to file a Joint

Stipulation of Dismissal with Prejudice in the instant case to allow an adequate

amount of time for the Plaintiff’s counsel and Defendants’ counsel in the Islas

Class Action to finalize the necessary documentation for Court approval of an Islas

Class Action settlement, and to ensure Plaintiff is named as a class representative

in the forthcoming Islas Class Action settlement agreement to be approved by the

Islas Court.



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      6.     The parties anticipate filing a dismissal with prejudice in the instant

lawsuit simultaneously with the entry of order approving the Islas Class Action

settlement agreement and final judgment in the putative class in Islas, which the

parties are hopeful can be accomplished in the next 180 days.

      WHEREFORE, Plaintiff and Defendants respectfully notify the Court that

Plaintiff and Defendants have resolved all claims made in this action, and request

one hundred and eighty days to file a Joint Stipulation of Dismissal with Prejudice.

      This the 8th day of August, 2017.

Respectfully submitted,                       Respectfully submitted,

/s/ James R. McKenzie (w/ permission)         /s/ Joseph N. Tucker
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                        CERTIFICATE OF SERVICE

      I hereby certify that the foregoing has been filed this 8th day of August,
2017, using the Court’s ECF system to the following.

James McKenzie                             James H. Lawson
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